






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00053-CV






Jeffrey Roland Boggess, Appellant


v.


Estate of Martha Blakely, with Betsy Blakely, the Independent Executor of the Estate of
Martha Blakely, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 98TH JUDICIAL DISTRICT

NO. D-1-FM-04-005498, HONORABLE PAUL DAVIS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



		The parties to this appeal have filed a joint motion requesting that this Court's records
be sealed.  On July 9, 2008, this appeal was abated for the entry of orders effectuating the parties'
settlement agreement.  On September 5, 2008, the trial court entered a final order effectuating the
settlement agreement and granting the parties' motion to seal court records, sealing all records except
court orders or opinions.  The appellate record has been supplemented with the trial court's final
order.  Accordingly, the parties' motion to seal this Court's records is granted as to all appellate
records except orders or opinions issued by this Court.

		The parties have also filed a joint motion to dismiss this appeal pursuant to the
settlement agreement.  We grant the parties' motion and dismiss the appeal.  See Tex. R. App. P.
42.1(a).



	

						__________________________________________						Diane M. Henson, Justice

Before Chief Justice Law, Justices Waldrop and Henson

Dismissed on Joint Motion

Filed:   November 21, 2008




